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                                 DISTRICT COURT OF THE VIRGIN ISLANDS

                                              DIVISION OF ST. CROIX
                                                 ║
LORETTA S. BELARDO, ANGELA TUITT- ║
SMITH, BERNARD A. SMITH, YVETTE ║
ROSS-EDWARDS, AVON CANNONIER, ║                                1:18-cv-00008
ANASTASIA M. DOWARD, DARYL                       ║
RICHARDS, EVERTON BRADSHAW,                      ║
RODELIQUE WILLIAMS-BRADSHAW, ║
PAMELA GREENIDGE and WINSTON                     ║
GREENIDGE, on behalf of themselves ║
and all others similarly situated,               ║
                                                 ║
                        Plaintiffs,              ║
                                                 ║
        v.                                       ║
                                                 ║
BANK OF NOVA SCOTIA,                             ║
                                                 ║
                        Defendant.               ║
________________________________________________ ║


TO:        Vincent Colianni, II, Esq.
           Marina Leonard, Esq.
           Korey A. Nelson, Esq.
           Carol Ann Rich, Esq.


                    ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE

           THIS MATTER is before the Court upon the Motion for Admission Pro Hac Vice of

Harry Richard Yelton, Esq. (ECF No. 25). Plaintiffs and Attorney Yelton have satisfied all

the requirements of Rule 83.1(b)(2)1 of the Local Rules of Civil Procedure, and the

appropriate fee has been paid.



1   Local Rules of Civil Procedure Rule 83.1(b)(2) states in pertinent part:

           Any member in good standing of the bar of any court of the United States or of the highest
           court of any state, who is not under suspension or disbarment by any court, may in the
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        The record shows that Harry Richard Yelton, Esq., currently is an attorney in good

standing in the State of Louisiana. His Louisiana bar number is 37363. He seeks special

admission to represent Plaintiffs in the above-captioned matter.

        Attorney Yelton is bound by the grievance procedures established for the Virgin

Islands bar, and he shall be subject to the disciplinary and contempt jurisdiction of this

Court in the course of practice during his pro hac vice admission, whether such disciplinary

action is taken before or after termination or revocation of his admission pro hac vice.

        Upon consideration of the said motion, the completed pro hac vice application, the

affidavit executed by Attorney Yelton, and the record herein, it is now hereby ORDERED:

        1.         The Motion for Admission Pro Hac Vice of Harry Richard Yelton, Esq. (ECF

                   No. 25) is GRANTED.

        2.         Harry Richard Yelton, Esq., is ADMITTED pro hac vice to practice before this

                   Court in the above-captioned matter.

        3.         Harry Richard Yelton, Esq., shall file forthwith a notice of appearance into the

                   record of the above-captioned matter.

        4.         Harry Richard Yelton, Esq., shall appear in person before the Court to take

                   the oath when he is physically present in this jurisdiction.




        discretion of the Court, on motion, be permitted to appear and participate in a particular
        case.

LRCi 83.1(b)(2).
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                                                   ENTER:


Dated: December 4, 2018                            /s/ George W. Cannon, Jr.
                                                   GEORGE W. CANNON, JR.
                                                   MAGISTRATE JUDGE
